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AUG -~9 2018
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SOUTHERN DISTRICT OF TEXAS
UNlTED STATES OF AMERICA
V. CR|M|NAL COMPLA|NT
Joe Ramirez BOQ`_§
Alonso Sallnas Case Number: ' '
Noemi Vlera 62 ' l % m3
Tasha Rochelle Lopez
l, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief. On or about August 7, 2018 in Kenedy County, in the
(Date)
Joe Ramirez
Southern District of Texas defendant(s), Alonso Salinas
Noemi Viera

Tasha Lopez
each aiding, abetting and assisting one another, did knowingly or in a reckless disregard of the fact that an alien had come
to, entered. or remained in the United States in violation of lawl transport, or move or attempt to transport or move such
alien within the United States by means of transportation or othen~ise, in furtherance of such violation of law

 

 

in violation of Tit|e 8 United States Code. Section(s) 1324
l further state that l am a(n) Border Patro| Agent and that this complaint is based on the
. Otticial Title
following facts:
See Attached Aft`rdavit of U.S. Border Patro| Agent Eberto Cabel|o

Continued on the attached sheet and made a part of this complaint

I:\ Yes

   
  
   

 

 

      
 

  

 

Signature of Comp|ainant
Submitted by reliable electronic means. sworn to, signature Eberto Cabe||o
attested telephonically per Fed.R.Crim.P.4.1, and probable cause Pn'nted Name of complainant
found on the: 1 ,
August 9, 2018 3 "‘{£#7/7') ar
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B. Jan|ce El|lngton U.S. Maglstrate Judge
Name and Title of Judicia| thoer

  

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Case 2:18-mj-03093 Document 1 Filed in TXSD on 08/09/18 Page 2 of 6

AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
mvestlgation, which included, but is not limited to information relayed to me by other agents and officers
participating in the investigation

PROBABLE CAUSE / FACTS:

On August 7, 2018, Border Patrol Agents (BPA) arrested Joe Ramirez, Alonso Salinas and Noemi Viera
at the Kingsville Border Patrol Checkpoint for attempting to smuggle four illegal aliens. In addition,
Border Patrol seized two vehicles used in the smuggling attempt.

At approximately 2:50 P.M., a Chevrolet Malibu sedan arrived at the primary inspection lane of the
Kingsville Border Patrol Checkpoint with two visible occupants The primary agent initiated his
immigration inspection of the occupants A canine handler was simultaneously utilizing his service canine
to conduct a non-intrusive free air sniff of the exterior of the vehicle. The primary agent notes he
observed the vehicle did not have either license plates or a registration sticker on the windshield. The
agent questioned the driver, later identified as Joe Ramirez, as to who owned the vehicle; Ramirez stated
the vehicle belonged to him and had recently purchased it. The vehicle’s registration later returned to
registered owner: Tasha Rochelle Lopez.

The agent asked the Ramirez what his intended destination was and where he departed from. Ramirez
responded he resides in Weslaco, Texas and was traveling to Dallas, Texas with his minor son for a few
days. The agent, observing a lack of luggage in interior of the vehicle, requested consent to search the
trunk of the vehicle, Ramirez granted consent and allowed the agent to open the trunk. Upon opening the
trunk, the canine handler informed the primary agent his canine was alerting to the trunk. The primary
agent found an assortment of items inside the trunk including a large blanket seemingly covering a large
bulky item. The agent placed his hand on the blanket and felt warmth emanating through it. He further
states he felt movement in response to his touch. The agent, suspecting the item might be a concealed
human, returned to the driver’s side window to further question the driver.

The agent inquired as to who placed all those items in the trunk; Ramirez began to exhibit common signs
of nervousness as witnessed by the primary agent including but not limited to fast heavy breathing, eye
widening and perspiration. Ramirez stated a friend had loaded the items into his vehicle’s trunk. The
agent then instructed the driver to shut off the vehicle and remove the key from the ignition port. Agents
escorted Mr. Ramirez into the checkpoint building and moved the vehicle to the secondary inspection
area. Agents conducted a search of the trunk and found two adult males, later identified as Jose Trujillo-
Elias and Santiago Equila-Xirum, concealed underneath the heavy blanket. Both admitted to being
illegally present in the United States and were placed under arrest. Mr. Ramirez was placed under arrest
for transporting illegal aliens.

A temperature reading of the trunk was recorded at 98 degrees Fahrenheit shortly after discovering the
aliens.

Shortly after the above referenced encounter, another vehicle approached the same agent at the primary
inspection lane. At approximately 2255 P.M., a gray Nissan Sentra rental vehicle approached the
inspection point with three visible occupants The agent initiated his inspection of the occupants while a
canine handler was simultaneously utilizing his service canine to conduct a non-intrusive free air sniff of
the exterior of the vehicle. The agent questioned the driver, later identified as Alonso Salinas, and female
passenger, later identified as Noemi Viera and asked them where they were from. The driver stated they
were from Weslaco, Texas. The agent notes that this response coupled with his experience and knowledge
of alien smuggling trends heightened his awareness The agent asked Salinas what was his destination, to
which Salinas responded they were traveling to Dallas, Texas. Both responses were similar to those given

Page 1 of 5

 

 

Case 2:18-mj-03093 Document 1 Filed in TXSD on 08/09/18 Page 3 of 6

by Mr. Ramirez during his initial encounter. The agent questioned the occupants as to their relation to the
female child (9 year old) seated in the back seat. Ms. Viera responded that she was a family member. The
agent asked who rented the vehicle to which Ms. Viera responded that it was under a friend’s name.

The agent requested and was granted consent to search the vehicle. Prior to opening the trunk, the canine
handler informed the agent his canine was alerting to rear of the trunk. Upon opening trunk, the agent
found an assortment of items including a heavy blanket similar to the one found in the first vehicle The
agent notes he witnessed movement from beneath the blanket prior to him touching it. He writes that this
blanket was also warm to the touch.

The agent returned to the driver’s side window and questioned him as to who placed the items in the
trunk. Salinas began to exhibit common indicators of nervousness as witnessed by the agent including but
not limited to acting confused, repeating questions in Spanish asking the agent to explain what he meant,
and breaking eye contact. The agent instructed Mr. Salinas to turn vehicle’s engine off and remove the
key from the ignition port to deter him from attempting to flee. The canine then moved the blanket and
found a concealed human. A subsequent search yielded discovery of two adult males concealed under the
blanket. The two, later identified as Esgar Espino-Lemus and Elvin Garcia-Escobar, readily admitted to
being illegally present in the United States and were placed under arrest. Mr. Salinas was instructed to
exit the vehicle and was searched for weapons. Mr. Salinas disclosed he had a knife in his possession
Agents found a knife and a nearly foot-long metal shank concealed in his waistline. He and Ms. Viera
were placed under arrest for transporting aliens.

A temperature reading of the trunk was recorded at 90 degrees Fahrenheit shortly after discovering the
aliens.

Shortly after the second vehicle, a F ord F-l 50 approached the primary inspection point with two adult
occupants and four children. The driver, later be identified as Tasha Lopez, claimed all four children were
hers and all declared they are United States Citizens. The same primary agent notes that during the
interaction, Ms. Lopez hiked her left leg up exposing much of her thigh and a tattoo with flowers. The
agent relies on his experience to determine that the distractive behavior exhibited by Ms. Lopez could be
indicative of potential smuggling activity. The agent requested and was granted consent to open the
driver’s side doors and look under the rear seat. The agent then obtained consent to further search the
vehicle in secondary inspection. A canine search yielded no results.

Approximately one and one half hours later, the Kingsville Border Patrol Station received a phone call
from a person identifying herself as Tasha Lopez and claiming to be mother to the two minors found
traveling with the three principals in this case. She further claimed that she received a call from her
mother telling her that her children were in custody of the Border Patrol and had traveled from Weslaco,
Texas to take custody. She claims she was not aware her boyfriend (driver of vehicle #l Joe Ramirez)
was doing with her children but had asked to borrow them for the day. The primary agent that
encountered all three vehicles was able to observe the arrival of the female claiming to be Tasha Lopez
through station surveillance video feed. The agent states the female had switched her shirt but recognized
her as the driver of` the F-150 that came through the checkpoint after vehicle #2. The agent then asked the
children to describe their mother, they stated their mother was Tasha Lopez and had a flower tattoo on her
leg.

During post arrest statements, the driver of vehicle #l, Mr. Ramirez admitted the child was not his
biological son but resided with the child’s mother, Tasha Lopez. Ms. Viera also admitted that the female
child traveling with her in vehicle #2 was not hers and actually a friend’s daughter. She identified her
friend as Tasha Lopez. Both juveniles were released to their mother and a photocopy of her identification
was secured.

Page 2 of 5

 

Case 2:18-mj-03093 Document 1 Filed in TXSD on 08/09/18 Page 4 of 6

MIRANDA RIGHTS WARNING AND STATEMENT (Joe Ramirez)

Agents advised Joe Ramirez of his Miranda Warning Rights, he stated he understood them and was
willing to make a statement without the presence of an attomey. A video-recorded sworn statement was
obtained.

Ramirez stated that he and his wife Tasha were instructed by (Tasha's stepbrother) to pick up four people
in a house in Mission and that he would be getting paid $1,000.00 for all four people. Ramirez stated that
the house was located down a dirt road near the Coyote Store off 8 Mile road in Mission. Ramirez stated
that once down they drove down the road an old man instructed them to stop and four people came out of
an orange orchard and got into his car. Ramirez stated that he and his wife drove to his house where he
dropped off his wife and continued to drive to another house where he was instructed by Tasha’s step-
brother to place the people in the trunk of the car.

Ramirez stated that Tasha and a gray in color car followed him to a house in Mercedes where he placed
two individuals in the trunk of his car and the other two in the gray car and placed suitcases and blankets
on top of them. Ramirez stated that his son got into the car with him and that he placed his daughter in the
other car with the woman and the man so they could pass as a family at the checkpoint Ramirez stated
that he lowered the backseat of the car so the individuals could get air and picked up the seat once they
arrived at the checkpoint Ramirez stated that he was going to drop them off in Houston, Texas and that
he did not receive money for gas or expenses

On August 8, 2018, at approximately l:30 pm, Ramirez was shown a photo lineup with five randomly
selected female subjects and Tasha Rochelle Lopez. Ramirez was able to identify Lopez and stated she
had nothing to do with the alien smuggling attempt Ramirez did state that Lopez accompanied him to the
orchard where he picked up the four aliens and that she was present when the IAs were loaded in the
trunks of the vehicles

MIRANDA RIGHTS WARNING AND STATEMENT (smuggled aliens)

Vehicle #l) TRUJILLO-Elias Jose Anibal:

Subject states he illegally entered the United States near Hidalgo, Texas on about July 31, 2018 and was
taken to an abandoned house. He stayed in the house for eight days until today‘s date. He claims that a
man in the house instructed four of them to walk into an orange grove next to the house and wait for a car
to pick them up. He stated that they reached the orange grove and waited for a car to pick them up. A
beige car driven by a man told him and another person to get in the trunk of the car. He stated that once he
and the other person were in the trunk they were covered with blanket and some luggage Another vehicle
arrived to pick up the other people but he was unable to see anything because he was already iri a trunk.
Subject claims he saw only men throughout his transportation and never saw a woman.

He stated that the driver was accompanied by a small boy and they left the back seats open for them to
breath. Subject stated that he did fear for his life while he was being transported in the trunk that it was
very hot and he had difficulty getting air because the other person was blocking the air flow to reach him.

Subject was shown one photo lineup. The lineup contained a photo of one of the three principals Subject
was unable to identify Joe Ramirez as the driver of the vehicle he was in. subject circled and initialed the
wrong person in the photo lineup.

(Vehicle #l) Santiago EQUILA-Xirum

Subject states he illegally entered the United States near Hidalgo, Texas on about July 3l, and was taken
to a house where he stayed for seven days until today‘s date. He claims that one of the men living in that
house instructed four of them to walk through an orange grove that was next to the house and that a car
was going to be waiting for them.

Page 3 of 5

 

 

 

 

 

 

Case 2:18-mj-03093 Document 1 Filed in TXSD on 08/09/18 Page 5 of 6

Once at the grove, they all got into the backseat of the vehicle, a young man wearing a cowboy hat and a
young woman as a passenger picked them up. They then met up with a second vehicle at another house
and the group was split into two groups among the vehicles Subject claims that the driver, the man with
the cowboy hat instructed for two of them to go into another vehicle that was there. Subject claims he saw
a man and a woman in the other vehicle and that the woman was the one telling the other two to get inside
the trunk. The subject and the other individuals were instructed to get inside the trunk of the car they were
in. Subject stated that the driver, the man with the cowboy hat, took off his hat and shirt and left an
undershirt on. At that time, the female passenger left a small boy seating in the passenger seat.

Subject claims that the child asked them if they were getting enough air to the trunk. Some of the
backseats were folded down during the majority of the trip. A few minutes before arriving to the
checkpoint, the driver turned around and put the seats in the upright position so that the trunk was fully
closed.

Subject was shown three separate photo lineups Each lineup contained a photo of one of the three
principals Subject positively identified Joe Ramirez as the driver of the vehicle he was in. Subject
positively identified Alonso Salinas as the driver of the second vehicle and Noemi Viera as the passenger.
He indicated such by circling the respective photo and initialing next to it.

On August 8, 2018 at approximately 12:30 p.m. Santiago Equila-Xirum was re-interviewed by
intelligence agents Equila was shown a photo lineup of a potential subject that was involved iri the alien
smuggling case. Equila was able to identify the subject in the photo lineup as the subject who picked him
up from the orange grove and transported him to the vehicle that he was found hidden in. The subject
identified was Tasha Lopez.

MIRANDA RIGHTS WARNING AND STATEMENT (Noemi Viera)

Viera stated she was to pick up the rental car at Lopez's house, but when she arrived, Lopez was not there
and instructed her Wiera) to go to a ranch owned by her (Lopez) father. Viera stated when she and
Salinas arrived, she observed three peoples Tasha Lopez, Joe Ramirez (principal and Lopez' boyfriend)
and Lopez' sister-in-law. Viera initially stated that she and Salinas loaded their belongings in the trunk of
the rental vehicle, but later during the interview, Viera changed her story and stated that once she exited
the vehicle, Lopez loaded the luggage into the rental vehicle,

Once the rental vehicle was loaded with Viera's luggage, Ramirez drove off in Lopez' vehicle and shortly
thereafter they drove off. Viera stated she did not know there were illegal aliens in the trunk of the rental
car. Viera stated Lopez' must have put the aliens in the trunk because she has been arrested for alien
smuggling before. Viera also stated that once at the checkpoint, she observed Tasha Lopez driving
Ramirez' silver Ford F-150 through the checkpoint

Note: Viera was a co-principal involved with Tasha Lopez in the event referenced above.

Viera was shown a photo lineup with five randomly selected female subjects and Tasha Rochelle Lopez.
Viera was able to identify Lopez as one of the facilitators that arranged the smuggling event.

Mr. Alonso Salinas was advised of his rights He declined to provide a statement without an attorney
present.

MIRANDA RIGHTS WARNING AND STATEMENT (smuggled aliens)

(Vehicle #2) GARCIA-Escobar, Elvin Saul

Subject states he illegally entered the United States near Hidalgo, Texas on July 31, 2018 and was taken
to a house where he stayed until today‘s date. A man entered the house and told four of them that it was

Page 4 of 5

 

 

Case 2:18-mj-03093 Document 1 Filed in TXSD on 08/09/18 Page 6 of 6

time to go. They were instructed to walk to an orange grove to be picked up. A four-door sedan then
picked the group up and drove them a short distance away. A second vehicle arrived and two of the aliens
were instructed to get into the second vehicle and all of them were instructed to get into the trunks He
states that the backseat was folded down during the majority of the trip. About ten minutes before arriving
at the checkpoint the seats were then placed into their upright position so that the trunk was fully closed.

Subject identified all three involved principals in photo lineups

(Vehicle #2) Esgar Espino-Lemus

Subject states he illegally entered the United States near Roma, Texas on about August 02, 2018 and was
taken to a house. His statement reflects that of the other aliens He states he got into the vehicle driven by
a male with a tattoo on his face, a female adult passenger, and a female child. He and another individual
were placed in the trunk of the vehicle, Some of the backseats were folded down during the majority of
the trip. A few minutes before arriving to the checkpoint, the female passenger turned around in her seat
and put the seats in the upright position so that the trunk was fully closed.

Espino was shown three separate photo lineups Each lineup contained a photo of one of the three
principals Subject positively identified Alonso Salinas as the driver of the vehicle he was in and Noemi
Viera as the passenger. l-le positively identified Joe Ramirez as the driver ofthe other vehicle. He
indicated such by circling the respective photo and initialing next to it.

On August 8, 2018 at approximately 8:30 A.M., Esgar David Espino-Lemus was re-interviewed by
intelligence agents Espino was shown a photo lineup of a potential subject that was involved in the alien
smuggling case. Espino was able to identify the subject in the photo lineup as the subject who picked him
up from the orange grove and transported him to the vehicle that he was found in the trunk. The subject
identified was Tasha Lopez.

The other two smuggled aliens Elvin Saul GARCIA-Escobar and Jose Anibal TRUJILLO-Elias were also
shown the photo lineup and were not able to identify anyone.

DISPOSITION:

I presented the facts of this case to Assistant United States Attomey Julie Hampton, who accepted
prosecution of Joe Ramirez, Alonso Salinas, Noemi Viera and Tasha Lopez for violating Title 8 USC
1324, Conspiracy to Transport Illegal Aliens All smuggled aliens will be held as material witnesses in

this case.
: Eberto R. Cabello

Border Patrol Agent

 

Submitted by reliable electronic means,

   
     

- iiingtn
t States Magistrate Judge

Page 5 of 5

